HERBERT L. MAY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.May v. CommissionerDocket No. 23138.United States Board of Tax Appeals19 B.T.A. 229; 1930 BTA LEXIS 2449; March 7, 1930, Promulgated *2449  The petitioner is not entitled to a deduction for an alleged loss resulting from the sale of a property used for many years as his residence, where he entered into a lease of the property, but before the lessee took possession, and within a few days, the lease was canceled and the property sold.  Charles H. Sachs, Esq., for the petitioner.  W. F. Gibbs, Esq., for the respondent.  MURDOCK *229  The Commissioner determined a deficiency in the petitioner's income taxes for the year 1922 in the amount of $4,501.70 and one for 1923 in the amount of $36.  The petitioner alleges that the Commissioner erred in disallowing (a) the deduction of $9,515 claimed as a loss on the sale of real estate in 1922; (b) a contribution of $200 to the Municipal Planning Association in 1922 and a contribution $100of to the same organization in 1923.  FINDINGS OF FACT.  The petitioner, a resident of Paris, France, formerly resided in Pittsburgh, Pa.In 1904 he returned to Pittsburgh after an absence of several years and bought an interest in the May Drug Co., which had been founded by his father.  The May Drug Co. was incorporated in 1905 and the petitioner became*2450  vice president and general counsel; he was active in the management of the company until 1928, when he retired as chairman of the board of directors.  The company started with one drug store, but, under an expansion program, business prospered and the company was soon operating a successful chain of retail drug stores in Pittsburgh.  The prosperity of the business made the petitioner successful financially.  From time to time he made investments and in connection with the leasing of store properties dealt in business real estate on his own account.  Prior to 1908 the petitioner and his family rented a house on Watson Boulevard, North Side, but in that year he investigated desirable residential property and bought a lot on Aylesboro Avenue in the Squirrel Hill District, which at that time was the most fashionable residential section in Pittsburgh.  This property had a frontage of 70 feet on Aylesboro Avenue and a depth of 145 feet.  He paid $110 per front foot or $7,700 for the property.  There *230  were several fine homes already constructed on this street, which was near Schenley Park, and the petitioner immediately set about to build a house in keeping with the community*2451  and in accordance with his desires for a home.  The petitioner and his wife discussed plans with an architect who designed an English type house of stone, stucco and timber, with slate roof, garage, etc.  The house had twelve rooms, three baths, two porches, concreted cellar and hot water heating plant with thermostatic control.  The arrangement, design and decoration of each room called for extensive use of oak beams and paneling, tapestry, mahogany, maple or cypress trim, special lighting fixtures, leaded glass doors, and art glass windows.  The house was designed and constructed in accordance with the desires and tastes of the petitioner and his family, and became their home immediately after it was finished in 1909.  The house cost $29,899.25.  In 1913 the petitioner bought an adjoining lot for $6,000; this purchase gave him 60 more front feet on Aylesboro Avenue, extending his line to the corner of Valmont Avenue, and thence along that street a distance of 145 feet.  In 1919 he bought another adjoining tract, 32 feet on Valmont Avenue and 130 feet deep, for $2,674.  From March 1, 1913, to October 11, 1922, the petitioner expended the sum of $15,335.42 for improvements, such*2452  as a new three-car garage, driveway, steps, walks, grading and filling, landscaping, shrubbery, tennis court, porches, copper gutters, etc.  The total cost of the property to the petitioner was $61,608.67.  The petitioner's wife died in September, 1921, and shortly thereafter he made plans to take his two daughters to Europe to finish their education.  In August, 1922, he listed his home for sale with several real estate brokers, who advised him to reduce the price from $80,000 to $75,000.  Being unable to sell at this price, the petitioner accepted an offer to lease the property, on October 16, 1922, and executed a lease of the property for a term of one year and ten days beginning on October 20, 1922; the rental was fixed at $3,300 per year; and the lease was to be terminated upon notice of 60 days in the event of sale.  On October 20, 1922, a real estate broker advised the petitioner that a cash sale of the property could be made for $60,000.  This sale was effected after the broker procured another house for the petitioner's lessee, who received $1,625 for the cancellation of the lease.  The expense of the sale was $1,390.  The petitioner agreed to convey this property to the*2453  vendee on November 1, 1922, and to give possession at the time of the delivery of the deed.  At or about that time he and his daughters went to Europe.  The fair market value of the property on October 16, 1922, was no greater than the amount it was sold for a short time later.  *231  The petitioner contributed $200 to the Municipal Planning Association in 1922 and $100 to this Association in 1923.  OPINION.  MURDOCK: The issue before the Board is whether or not the petitioner is entitled to deduct $9,515 or any other amount from his taxable income in 1922 as a loss resulting from the sale of his former residence.  The petitioner claims the right to a deduction under section 214(a)(5) of the Revenue Act of 1921, which allows the deduction of "losses sustained during the taxable year and not compensated for by insurance or otherwise, if incurred in any transaction entered into for profit, although not connected with the trade or business." Despite the petitioner's testimony that he bought the lot and built the house expecting to make a profit, the evidence clearly indicates that this property was not acquired, improved, or developed as a transaction "entered into for profit. *2454  " The petitioner's business was successful, his financial success enabled him to satisfy the desire of his family for a home, and he bought a lot in the then best residential section of Pittsburgh.  A fine home was built, improvements were made from time to time, and in 1913 and 1919 adjoining lots were purchased.  He and his family lived in this house continuously from the date it was completed until after his wife died, when it was sold.  Although the petitioner dealt in business real estate, he did not deal in residential property at any time.  He made no effort to sell his home or to offer it for sale prior to August, 1922.  The petitioner, no doubt having in mind the case of , offered the testimony of several witnesses to prove that the value of the property on October 16, 1922, the date when it was first rented, was $78,000.  This testimony consisted of the opinions of several dealers in real estate and others who were supposed to be expert in the matter.  It appears from their testimony that there were no sales of similar property on or about October 16, 1922, which would support their opinions of value. *2455  We know, as a matter of fact, that four days after that date an offer of $60,000 for this property was made and finally accepted by the petitioner.  There is nothing in the evidence to indicate that the value of the property had declined to the extent of $18,000 during those four days, nor is there anything in the record to indicate that the petitioner was forced to sell at less than the fair market value of the property.  Under these circumstances we think the sale is more reliable evidence of the value on October 16th than the opinions of the experts, and we can not hold that the value of this property on October 16, 1922, was *232  any greater than the amount for which it was sold a short time thereafter.  . This being so, no loss could possibly result and further discussion as to whether , applies is unnecessary. Counsel for the petitioner also attempted to bring this transaction within section 214(a)(6) of the Revenue Act of 1921, which provides for loss "arising from fires, storms, shipwreck or other casualty." We fail to see merit in this contention.  See *2456 , for a discussion of "other casualty." The respondent admits error in disallowing deductions claimed on account of the contributions to the Municipal Planning Association, in so far as the contributions do not exceed 15 per cent of net income.  Judgment will be entered under Rule 50.